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UNITED STATES DISTRICT COURT FOR
THE SOUTHERN DISTRICT OF NEW YORK

WEIGUO SUN, LINDA HE CHEUNG, JIA LI
WANG, JIAMEI LU, JUN LIU, MAO-FU                        Civil Action No.: 1:21-cv-04529
WENG, RUQIN WANG, TELI CHEN,
WEIXIANG GE, SHUANG WANG, XINGYU
YAN, YAN GAO, YI LI, AND YING LIU,

                  Plaintiffs,

v.
                                                        COMPLAINT
GTV MEDIA GROUP INC., SARACA MEDIA
GROUP INC., WENGUI GUO (a/k/a HO WAN
KWOK), VOICE OF GUO MEDIA, INC., AND
LIHONG WEI LAFRENZ (a/k/a “SARA”, a/k/a
LIHONG WEI)

                  Defendants.




       Plaintiffs Weiguo Sun, Linda He Cheung, Jia Li Wang, Jiamei Lu, Jun Liu, Mao-Fu Weng,

RuQin Wang, Teli Chen, Weixiang Ge, Shuang Wang, Xingyu Yan, Yan Gao, Yi Li, and Ying

Liu, by and through their undersigned counsel, allege the following against Defendants GTV

Media Group Inc. (“GTV”), Saraca Media Group Inc. (“Saraca”), Wengui Guo (“Guo”), Voice of

Guo Media, Inc. (“VOG”), and Lihong Wei Lafrenz (a/k/a Sara) (“Lafrenz”).

                                NATURE OF THE ACTION

       1.     Defendants contrived and conspired to sell the unregistered securities of Defendant

GTV to Plaintiffs, through untrue and materially misleading statements that Defendants broadcast

to the public-at-large in video and audio messages posted on YouTube, Discord, and other media

and social media platforms, in violation of the Securities Act of 1933 (the “Securities Act”) and

the Securities Exchange Act of 1934 (the “Exchange Act”).
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       2.      Defendants Guo and Saraca, an entity that Guo controlled, initiated the fraudulent

and unlawful scheme by posting videos of Guo on YouTube and Saraca’s website “GNews,” and

later on GTV’s social media app, in which Guo made materially false and misleading statements

concerning the value of GTV’s business, the value of GTV’s securities, the success and status of

GTV’s social media app, and the value and status of a purported cryptocurrency “G-Coin.”

       3.      Plaintiffs viewed these videos at or around the time of their initial posting and, as

Guo and Saraca intended, relied on Guo and Saraca’s representations about GTV and sought

information about how they could invest.

       4.      Defendants then initiated the next step in their scheme whereby Defendant Guo

authorized Defendants Lafrenz and VOG, an entity controlled by Lafrenz, to collect funds from

Plaintiffs to invest in GTV securities on Plaintiffs’ behalf. Defendants Guo and Lafrenz posted

statements on YouTube, GTV’s social media app, or Discord in which they stated that Plaintiffs’

funds, once received by Lafrenz and VOG, would be used to purchase GTV securities that would

then be delivered to Plaintiffs.

       5.      In reliance on these statements, Plaintiffs sent funds to Defendants Lafrenz and

VOG at bank accounts Lafrenz controlled. Contrary to Defendants’ representations, however, no

GTV securities were purchased with Plaintiffs’ funds and no GTV securities were delivered to

Plaintiffs. Rather, Defendants kept Plaintiffs’ funds and provided nothing of value in return.

       6.      Defendants furthered the scheme by misleading Plaintiffs to believe the investment

would occur, that refunds would be issued, or that Plaintiffs’ investments would be converted into

another opportunity to invest with either GTV or another of Guo’s ventures. Plaintiffs were lulled

into a sense of security by these representations and refrained from taking action for months while,




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in secret, Defendants transferred Plaintiffs’ funds out of GTV and, upon information and belief,

out of the country.

        7.       Plaintiffs pressed Defendants, particularly Defendant Lafrenz, to reveal the truth

and return their money to them. Neither Lafrenz, nor any other Defendant, has returned any funds

to Plaintiffs.

        8.       As a result of the sale of the unregistered securities, Defendants’ false and

misleading statements, and Defendants’ failure to deliver any securities or refunds to Plaintiffs,

Defendants have violated the Securities Act, the Exchange Act, defrauded Plaintiffs, and have

been unjustly enriched at Plaintiffs’ expense.

                                          THE PARTIES

        9.       Plaintiff Weiguo Sun is an individual and resident of Norway who transferred

$59,200 on May 18, 2020, to Defendant Lafrenz at a Wells Fargo bank account in the name of

Defendant VOG pursuant to an agency agreement by which Lafrenz was to invest that sum in

Defendant GTV. Plaintiff Weiguo Sun never received any GTV securities.

        10.      Plaintiff Linda He Cheung is an individual and resident of the state of California

who transferred $50,030 on May 18, 2020, to Defendant Lafrenz at a Wells Fargo bank account in

the name of Defendant VOG pursuant to an agency agreement by which Lafrenz was to invest that

sum in Defendant GTV. Plaintiff Linda He Cheung never received any GTV securities.

        11.      Plaintiff Jia Li Wang is an individual and resident of New York who transferred

$430,000 on May 18, 2020, to Defendant Lafrenz at a Wells Fargo bank account in the name of

Defendant VOG pursuant to an agency agreement by which Lafrenz was to invest that sum in

Defendant GTV. Plaintiff Jia Li Wang never received any GTV securities.




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       12.    Plaintiff Jiamei Lu is an individual and resident of Hawaii who transferred $15,000

on April 27, 2020 and an additional $25,000 on May 11, 2020, to Defendant Lafrenz at a Wells

Fargo bank account in the name of Defendant VOG pursuant to an agency agreement by which

Lafrenz was to invest the total sum of $40,000 in Defendant GTV. Plaintiff Jiamei Lu never

received any GTV securities.

       13.    Plaintiff Jun Liu is an individual and resident of Japan who transferred $35,000 on

May 14, 2020, to Defendant Lafrenz at a Wells Fargo bank account in Lafrenz’s name pursuant to

an agency agreement by which Lafrenz was to invest that sum in Defendant GTV. Plaintiff Jun

Liu never received any GTV securities.

       14.    Plaintiff Mao-Fu Weng is an individual and resident of Taiwan who transferred

$45,000 on May 20, 2020, to Defendant Lafrenz at a Wells Fargo bank account in Lafrenz’s name

pursuant to an agency agreement by which Lafrenz was to invest that sum in Defendant GTV.

Plaintiff Mao-Fu Wang never received any GTV securities.

       15.    Plaintiff RuQin Wang is an individual and resident of Canada who transferred

$89,980 on May 14, 2020, to Defendant Lafrenz at a Wells Fargo bank account in the name of

Defendant VOG pursuant to an agency agreement by which Lafrenz was to invest that sum in

Defendant GTV. Plaintiff RuQin Wang never received any GTV securities.

       16.    Plaintiff Teli Chen is an individual and resident of the state of Washington who

transferred $125,000 on May 27, 2020, to Defendant Lafrenz at a Bank of America bank account

in the name of Defendant VOG pursuant to an agency agreement by which Lafrenz was to invest

that sum in Defendant GTV. Plaintiff Teli Chen never received any GTV securities.

       17.    Plaintiff Weixiang Ge is an individual and resident of the state of Texas who

transferred $4,500 on May 15, 2020, to Defendant Lafrenz at a Wells Fargo bank account in the




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name of Defendant VOG pursuant to an agency agreement by which Lafrenz was to invest that

sum in Defendant GTV. Plaintiff Weixiang Ge never received any GTV securities

        18.   Plaintiff Shuang Wang is an individual and resident of the state of Texas who

transferred a total of $25,500 between May 12 to 15, 2020, to Defendant Lafrenz at a Wells Fargo

bank account in the name of Defendant VOG pursuant to an agency agreement by which Lafrenz

was to invest that sum in Defendant GTV. Plaintiff Shuang Wang never received any GTV

securities.

        19.   Plaintiff Xingyu Yan is an individual and resident of China who transferred

$100,000 on May 8, 2020, to Defendant Lafrenz at a Wells Fargo bank account in the name of

Defendant VOG pursuant to an agency agreement by which Lafrenz was to invest that sum in

Defendant GTV. Plaintiff Xingyu Yan never received any GTV securities.

        20.   Plaintiff Yan Gao is an individual and resident of the state of Oregon who

transferred $66,000 on May 18, 2020, to Defendant Lafrenz at a Wells Fargo bank account in the

name of Defendant VOG pursuant to an agency agreement by which Lafrenz was to invest that

sum in Defendant GTV. Plaintiff Yan Gao never received any GTV securities.

        21.   Plaintiff Yi Li is an individual and resident of China who transferred $45,000 on

May 13, 2020, to Defendant Lafrenz at a Wells Fargo bank account in the name of Defendant

VOG pursuant to an agency agreement by which Lafrenz was to invest that sum in Defendant

GTV. Plaintiff Yi Li never received any GTV securities.

        22.   Plaintiff Ying Liu is an individual and resident of the state of California who

transferred $20,000 on May 28, 2020, to Defendant Lafrenz at a Bank of America bank account in

the name of Defendant VOG pursuant to an agency agreement by which Lafrenz was to invest that

sum in Defendant GTV. Plaintiff Ying Liu never received any GTV securities.




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       23.     Upon information and belief, including records maintained by the New York State

Department of State, Defendant GTV Media Group Inc. is a Delaware corporation with its

principal place of business located at 162 East 64th Street, New York, New York 10065.

       24.     Upon information and belief, including records maintained by the New York State

Department of State, Defendant Saraca Media Group Inc. is a Delaware corporation with is

principal place of business located at 162 East 64th Street, New York, New York 10065.

       25.     Upon information and belief, Defendant Saraca is the parent company of Defendant

GTV. Saraca owns and operates an online media website “GNews,” and a company called “Guo

Media” through which it publishes statements from or about Defendant Guo and his ventures.

Saraca also owns trademarks that feature Defendant Guo’s names and aliases, including “Guo

Wengui” and “Miles Guo.”

       26.     Upon information and belief, Defendant Wengui Guo, also known as Ho Wan

Kwok, Miles Guo and/or Miles Kwok, is and at all times referred to herein was an individual and

foreign national residing in the State of New York.

       27.     Upon information and belief, Defendant Guo holds, controls, or otherwise has a

beneficial interest in Defendants Saraca and GTV. Guo’s close associate Yanping Wang is

identified as Saraca’s CEO in the New York State Department of State’s records and Guo’s

personal assistant Chunguang Han is identified as Saraca’s President and board member in a March

2019 Delaware state tax filing.

       28.     Upon information and belief, including the records of the Arizona Secretary of

State, Defendant Voice of Guo Media, Inc. is an Arizona corporation with its principal place of

business located in Arizona.




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       29.     Upon information and belief, including bank wire instructions, Defendant Lihong

Wei Lafrenz, also known as “Sara,” is an individual and resident of Arizona who is an associate

and accomplice of Defendant Guo. Defendant Guo expressly authorized Lafrenz to collect money

from Plaintiffs as part of Defendants’ fraudulent scheme.

       30.     Upon information and belief, including bank account information, wire

instructions, and records maintained by the Arizona Secretary of State, Defendant Lafrenz owns

and controls Defendant VOG, including its bank accounts and business operations. Defendant

Lafrenz is the statutory agent for VOG, as well as its President and sole director.

                                JURISDICTION AND VENUE

       31.     The claims asserted herein are based on Sections 5, 12, and 15 of the Securities Act

(15 U.S.C. §§ 77e, 77l, and 77o). As such, this Court has original subject matter jurisdiction

pursuant to 28 U.S.C. § 1331 and over the remaining claims arising under New York law pursuant

to 28 U.S.C. § 1367.

       32.     This Court has personal jurisdiction over Defendants GTV, Saraca, and Guo

pursuant to New York Civil Practice Law and Rules 301 and 302(a) because each Defendant

resides in and/or is found within the State of New York, each Defendant regularly transacted

business within the state, and each Defendant committed a tortious act within the state.

       33.     This Court has personal jurisdiction over Defendants VOG and Lafrenz pursuant to

New York Civil Practice Law and Rules 301 and 302(a) because each Defendant regularly

transacted business within the state and each Defendant committed a tortious act within the state.

       34.     Personal jurisdiction is also proper over all Defendants because each Defendant,

individually and in concert, purposefully availed itself or himself or herself of the privilege of

conducting business activities within the State of New York.




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        35.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2) and (3) because

a substantial part of the events or omissions giving rise to Plaintiffs claims occurred in this district,

and because Defendants are subject to personal jurisdiction within this district.

                                SUBSTANTIVE ALLEGATIONS

                               The GTV Solicitations and Offering

        36.     GTV is the brainchild of Defendant Guo, a self-described political dissident from

China with a large social media following in the U.S., including Plaintiffs who were familiar with

Guo from videos he posted on YouTube.

        37.     Guo conceived GTV to be a video streaming social media platform for user-

generated political content.

        38.     Over the course of 2019 and early 2020, Defendants Guo, Saraca, and GTV

developed GTV’s video broadcast platform and website (the “GTV Platform”).

        39.     By March 2020, Defendants had developed an initial release version of the GTV

Platform.

        40.     Several of Plaintiffs, including Plaintiff Jiamei Lu, Jia Li Wang, Jun Liu, Mao-Fu

Weng, and Weiguo Sun, learned of the GTV Platform from Defendant Guo’s internet posts and

videos, and thereafter viewed content on the GTV Platform.

        41.     In connection with the March 2020 release of the GTV Platform, Defendant Guo

began broadly soliciting investors to invest in GTV. These solicitations were made through

YouTube, the GTV Platform, “GNews” (a website owned and operated by Saraca and under Guo’s

control), as well as other public social media platforms.

        42.     Defendant Guo himself and through various agents, boasted about the opportunity

to invest in GTV, stating that substantial gains would be achieved and that GTV would replace




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major social media platforms. These boasts were posted publicly on the internet, including on

YouTube.

          43.   For example, on April 7, 2020, Guo boasted in a livestream broadcast online to the

public, that there were so many people who wanted to invest in GTV that “one or two or three

billion dollars could be raised in one minute” and that GTV stock would rise by as much as “10

times.”

          44.   Plaintiffs, including Jun Liu, Mao-Fu Weng, Weiguo Sun, Teli Chen, Shuang

Wang, and Xingyu Yan, viewed Defendant Guo’s April 7 broadcast and were interested in the

opportunity to invest in GTV.

          45.   On April 9, 2020, Guo posted a video to YouTube in which he similarly touted

GTV as an investment. This video has since been removed by YouTube for violating its

community guidelines. Several of Plaintiffs viewed this video.

          46.   At or around the time these videos were released, Defendant Guo enlisted

Defendant Lafrenz to solicit investments from individuals who had supported Guo’s political

activism against the Chinese Communist Party in a campaign known as the “Whistleblower

Movement” through donations to a so-called “Rule of Law Foundation.”

          47.   On April 13, 2020, Lafrenz sent messages via Discord, a social media messaging

platform, to individuals that supported the Whistleblower Movement, including Plaintiff Xingyu

Yan.

          48.   In the April 13, 2020 message, Lafrenz instructed Plaintiff Xingyu Yan to send

certain information to an email address “gtvstock@gmail.com.” Xingyu Yan sent the requested

information the same day and, on April 14, 2020, received a response including Defendant Guo’s

purported WhatsApp messenger phone number that indicated Guo would “communicate with you




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directly about GTV’s private placement,” and that any message sent to Guo should state “I am

recommended by Sara, I am XXX, I want to invest US$XXX.” “Sara” is an alias used by

Defendant Lafrenz on Discord and other platforms.

       49.     Plaintiff Xingyu Yan messaged Defendant Guo as Lafrenz instructed and, on April

17, 2020, Xingyu Yan received a response from Guo.

       50.     In the response, Guo explained that a minimum investment of $100,000 was

required and proof of a donation to the Rule of Law Foundation was a prerequisite to participation.

Xingyu Yan provided the requested proof of a donation.

       51.     On April 17, 2020, Guo incorporated GTV in Delaware.

       52.     On April 20, 2020, Guo created another video in which he provided instructions to

potential GTV investors. Although the video purported to be limited to private investors and not

the public at large, the video was uploaded to YouTube by Guo the following day without

restrictions on who could access and view it.

       53.     The April 20, 2020 video included instructions for the investment process. Along

with the video, Guo posted a link to download investment documents. Among the instructions, the

video instructs investors to contact Guo directly via WhatsApp messenger or iMessage and

provided Guo’s phone number. The phone number shown in the video matches the phone number

that Plaintiff Xingyu Yan used to contact Defendant Guo.

       54.     Plaintiff Jia Li Wang attempted to contact Guo via WhatsApp in response to this

solicitation, but Guo did not respond.

       55.     On April 21, 2020, Defendant Guo sent a message to Plaintiff Xingyu Yan via

WhatsApp and provided a link to download the GTV investment documents referenced in the April

20, 2020 video.




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        56.     Xingyu Yan reviewed the investment documents which included an Information

Memorandum, Investment Procedure Guidelines, a subscription agreement, and a non-disclosure

agreement. These documents referred to Defendant Guo as GTV’s “sponsor” and “consultant” as

well as a “main host” on GTV.

        57.     The Information Memorandum claimed that GTV was the “first ever platform

which will combine the power of citizen journalism and social news with state-of-the-art

technology, big data, artificial intelligence, block-chain technology and real-time interactive

communication” (emphasis in original).

        58.     According to the Information Memorandum, under the GTV Offering, GTV would

issue between 20 million and 200 million new shares to be sold to investors at a price of US $1.00

per share. Assuming all 200 million shares were subscribed and sold, investors would own 10%

of GTV, while Defendant Saraca would own the remaining 90% of GTV. This implied a market

capitalization of $2 billion.

        59.     The Information Memorandum stated that the investments being offered were

securities but they would be “offered without registration under the Securities Act of 1933 [ ] in

reliance upon certain exemptions therefrom and investors will be required to evidence their

compliance with certain requirements.”

        60.     Based on his review of the investment materials, Plaintiff Xingyu Yan was

concerned he would be unable to participate in the GTV Offering at that time because he was not

an “accredited investor.” However, because he had heard from Defendant Lafrenz on Discord that

other investment opportunities would be available, he continued to follow Guo’s videos and

participated in discussions on Discord about investing in GTV.




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       61.      Prior to and after the April 20, 2020 video, Guo touted the GTV investment in

numerous other recorded videos that were broadly made available to the public, including on

YouTube and other social media platforms. In these videos, Guo also described a GTV-based

cryptocurrency “G-Coin,” which investors in GTV would purportedly receive and which,

according to Guo, would become highly valuable. These representations were incomplete and/or

misleading, and included:

             a. On April 15, 2020, Defendants Guo, Saraca, and GTV launched the GTV app on

                Apple’s app store. The same day, Guo posted a statement on the GTV Platform

                stating that the GTV app ranked higher on the Apple app store than WeChat, one

                of the most popular social media apps in China.

             b. On April 27, 2020, Guo claimed in a video that G-Coin had already appreciated

                significantly in value and would have the same status as sovereign currency. There

                is no indication, however, that G-Coin had any value at this time or that it was

                accepted as a currency.

             c. On May 9, 2020, during a livestream in which Guo was joined by an individual

                identified as “Caogenxiaoge,” Guo stated that GTV’s valuation would increase by

                20 times, but failed to state GTV’s current valuation or provide any basis for this

                representation.

             d. On May 11, 2020, a livestream in which Guo stated that GTV is “the only safe

                choice” for investors and that its value could increase by a “thousand, ten thousand,

                or a hundred thousand times,” or “even a million times,” adding a promise that

                investors’ money would be “safe” in his hands.




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             e. On May 13, 2020, GNews, a website owned by Saraca and thus subject to Guo’s

                control, published an article stating, in Chinese, that “The current financing stage

                of GTV is the earliest stage and the stage with the highest return. The investment

                risk corresponding to this stage is of course the largest theoretically, but the GTV

                fundraisers is actually a risk-free act of giving money [to investors]”and

                concluding that “there is no business risk, you just have to believe in it” (emphasis

                added).

       62.      Defendant Guo also touted opportunities for individuals who wished to invest less

than $100,000 to invest through alternative means, including through investing indirectly in GTV

by sending funds to Lafrenz and VOG, who would, in turn, obtain GTV securities for investors.

       63.      As set forth below, Plaintiffs relied on Defendants Guo, Saraca, and Lafrenz’s

statements and sent funds to Lafrenz or VOG to obtain GTV securities.

         Defendants Invite Smaller Investors to Invest Through Lafrenz and VOG

       64.      In order to attract more investors, Defendants Guo, Saraca, VOG, and Lafrenz,

upon information and belief, developed a scheme by which they would obtain funds by soliciting

smaller investors to pool their funds into Defendant VOG, controlled by Lafrenz, and VOG would

then invest in GTV on the investors’ behalf (the “Crowdfunding Scheme”).

       65.      Upon information and belief, Defendants developed this scheme in part because, in

or about mid-May 2020, certain of Saraca’s bank accounts, including a JP Morgan Chase account,

were marked for suspicious activity and blocked from receiving further investor funds. As a result,

Defendant Guo and Saraca needed to obtain funds using other bank accounts and entities to avoid

further suspicion from their banks.




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       66.     At or about the same time, Defendants also revealed their Crowdfunding Scheme

through a series of livestreams and Discord messages disseminated to the public.

       67.     The Crowdfunding Scheme had previously been suggested by Guo during an April

2020 livestream. During that livestream, Guo identified Lafrenz, referred to as “Sara,” as an

associate he had authorized to accept investments from investors with less than $100,000 through

VOG.

       68.     Plaintiffs viewed this livestream and Guo’s statements at or around the time they

appeared online, which conveyed that Lafrenz and VOG were acting in concert with and as agents

for Defendants Guo and GTV.

       69.     Lafrenz encouraged smaller investors to consider this option, including through

discussions on Discord and livestreams. Several of Plaintiffs, including Linda Cheung, Xingyu

Yan, Shuang Wang, Weixiang Ge, Jiamei Lu, Teli Chen, Weiguo Sun, and Yi Li, participated in

and/or viewed Lafrenz’s discussions and livestreams.

       70.     For example, on April 16, 2020, Lafrenz promoted the GTV investment opportunity

to her Discord followers, including Plaintiff Teli Chen, inviting them to “privately contact me for

[a] consultation” and stating that the private placement was to be “conducted by fund managers

through private negotiations with investors,” including herself.

       71.     On May 10, 2020, Lafrenz published a message on Discord instructing interested

investors to join a Discord video-chat. During that video-chat, Lafrenz told the viewers that if they

sent her records proving their donation to the Rule of Law Foundation, she would send them

investment materials.




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        72.     The same day, Defendant Guo posted a video in which he acknowledged Lafrenz

and VOG’s role as agents to facilitate investments in GTV and promised to grant Lafrenz and

VOG a total of 500,000 GTV shares for themselves.

        73.     On May 12, 2020, Lafrenz made another broadcast on GTV, viewed by at least

Plaintiffs Weiguo Sun and Yi Li. In that video, Lafrenz explained her and VOG’s role as agents

authorized by Guo to collect and pool investments for GTV. She again instructed viewers that, if

they sent her proof of their support for the Rule of Law Foundation, she would provide them with

investment materials for GTV.

        74.     According to WhatsApp messages that Lafrenz later posted on the internet, she and

Guo also privately discussed her and VOG’s role in collecting funds from investors to obtain GTV

securities their behalf.

        75.     Specifically, on May 15, 2020, Lafrenz sent WhatsApp messages to Guo in which

she stated that “as long as the investor provides their donation certificates of ROL foundation and

the experience of supporting Guo, I will give him/her YES.” Guo responded with a voice message

that, upon information and belief, approved of Lafrenz’s strategy to collect investors’ funds.

        76.     The following day, Lafrenz informed Guo that she “just came back from the bank.

I sent two checks totaling US$30,000,000,” and that there were “Massive investors come [sic] for

investment.” Guo again replied with voice messages that, upon information and belief, approved

of Lafrenz’s actions.

        77.     On May 18, 2020, Defendant Lafrenz posted a message on Discord inviting

investors to send funds to her, stating “Everyone can continue to try to send money … I will update

bank information” and that “on May 25th, New York time, registration for investment was [sic]

officially stopped.”




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       78.      On May 21, 2020, Defendant Guo posted a video online in which he confirmed

Lafrenz’s role claim, describing Lafrenz and VOG as a “legal agent” of GTV. This video has since

been removed.

Plaintiffs Rely on Defendants and Invest Their Funds Through the Crowdfunding Scheme

       79.      In reliance on Guo’s and Lafrenz’s representations that Lafrenz and VOG would

collect investors’ funds and invest in GTV on investors’ behalf, Plaintiffs directly contacted

Lafrenz to obtain investment materials:

             a. On April 24, 2020, Plaintiff Jiamei Lu contacted Lafrenz on Discord and received

                a response from Lafrenz providing investment instructions and a link to bank wiring

                instructions and a “Limited Agency Agreement.”

             b. On May 5, 2020, Plaintiff Xingyu Yan contacted Lafrenz on Discord and received

                a response from Lafrenz providing investment instructions and a link to bank wiring

                instructions and a “Limited Agency Agreement.”

             c. On May 7, 2020, Plaintiff Jun Liu contacted Lafrenz on Discord and received a

                response from Lafrenz providing investment instructions and a link to bank wiring

                instructions and a “Limited Agency Agreement.”

             d. On May 10, 2020, Plaintiffs Weixiang Ge and Shuang Wang contacted Lafrenz on

                Discord and received responses from Lafrenz providing investment instructions

                and a link to bank wiring instructions and a “Limited Agency Agreement.”

             e. On May 12, 2020, Plaintiff Linda Cheung contacted Lafrenz on Discord and

                received a response from Lafrenz providing investment instructions and a link to

                bank wiring instructions and a “Limited Agency Agreement.”




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             f. On May 13, 2020, Plaintiffs Yan Gao, Yi Li, and RuQin Wang contacted Lafrenz

                on Discord, email, and WhatsApp, respectively, and received responses from

                Lafrenz providing investment instructions and a link to bank wiring instructions

                and a “Limited Agency Agreement.”

             g. On May 15, 2020, Plaintiffs Jia Li Wang and Ying Liu contacted Lafrenz on

                Discord and received responses from Lafrenz providing investment instructions

                and a link to bank wiring instructions and a “Limited Agency Agreement.”

             h. On May 16, 2020, Plaintiffs Weiguo Sun and Mao-Fu Weng contacted Lafrenz on

                Discord and received responses from Lafrenz providing investment instructions

                and a link to bank wiring instructions and a “Limited Agency Agreement.”

             i. On May 20, 2020, Plaintiff Teli Chen contacted Lafrenz on Discord and received a

                response from Lafrenz providing investment instructions and a link to bank wiring

                instructions and a “Limited Agency Agreement.”

       80.      Lafrenz provided all Plaintiffs with substantially the same investment instructions,

in Mandarin, which provided that investors should click on a link to download “files and bank

account information,” fill in the amount of their investment, sign the documents, including the

Limited Agency Agreement, provide a copy of a passport or other identity card, and attach a

screenshot of the wire transfer record.

       81.      The Limited Agency Agreement is uniform and states:

                “[Investor], hereby intending to be legally bound, and in
                consideration of One Dollar ($1.00), and other good, valuable and
                sufficient considerations, the receipt and adequacy whereof being
                hereby acknowledged by the Agent and for the benefit of the
                Investor and his/her successors and assigns, does hereby assign,
                direct, and designated Lihong Wei Lafrenz (hereinafter referred to
                as the “Agent”), her successors, assigns, and affiliates, to purchase




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                 on my behalf ,with funds to be provided by me in the sum of
                 $___________, certain shares in GTV Media Group, Inc.”

       82.       The Limited Agency Agreement identifies Lafrenz’s email address as

“vog202064@gmail.com” and lists her address as 1850 W Orange Grove Rd., Tucson, AZ 85704.

This is the same address Defendant VOG identified as its principal place of business in corporate

records filed with the Arizona Secretary of State.

       83.       The investment materials that Lafrenz sent to Plaintiffs also included bank wiring

instructions for accounts in the name of VOG or Lafrenz’s personal account. Specifically, Lafrenz

provided wire instructions for three accounts:

              a. VOG account at Wells Fargo with account number ending 5536;

              b. VOG account at Bank of America with account number ending 7226; and

              c. Lihong Wei account at Wells Fargo with account number ending 1005.

       84.       Each of Plaintiffs signed the Limited Agency Agreement and sent the signed copy

to Lafrenz.

       85.       Lafrenz did not respond to Plaintiffs and did not return a counter-signed copy of

the Limited Agency Agreement, except Plaintiff Jun Liu.

       86.       On May 11, 2020, Plaintiff Jun Liu attempted to wire funds to Lafrenz following

the instructions in Lafrenz’s discord message, but Jun Liu’s bank refused to execute the transfer.

As a result, Jun Liu contacted Lafrenz later that day and Lafrenz immediately sent back a counter-

signed copy of the Limited Agency Agreement, with Lafrenz’s signature dated May 6, 2020.

       87.       Each of Plaintiffs wired funds to the bank account designated by Lafrenz in the

investment instructions:




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             a. Plaintiffs Linda Cheung, Weiguo Sun, Jia Li Wang, Jiamei Lu, RuQin Wang,

                Weixiang Ge, Shuang Wang, Xingyu Yan, Yan Gao, and Yi Li wired funds into

                the Wells Fargo account ending 5536 in the name of VOG;

             b. Plaintiffs Teli Chen and Ying Liu wired funds into the Bank of America account

                ending 7226 in the name of VOG; and

             c. Plaintiffs Jun Liu and Mao-Fu Weng wired funds into the Wells Fargo account

                ending 1005 in the name of Lihong Wei.

       88.      Plaintiffs wired their funds in reliance on Defendant Guo’s representations and

statements concerning the quality of the GTV investment, including the investment was “safe,”

that the value would increase by ten times or twenty times, that GTV’s valuation would be worth

billions of dollars, that the associated G-Coin would have the status of sovereign currency, that

GTV would replace major social media platforms like Tik Tok and YouTube, and that the GTV

app out-ranked WeChat in the Apple app store on April 15, 2020 (see supra, ¶¶ 43, 45, 61, 72, 78).

       89.      Plaintiffs wired their funds in reliance on representations and statements that

Defendant Saraca published on its GNews website, including the representation that “there is no

business risk” associated with the investment (see supra, ¶ 61).

       90.      Plaintiffs wired their funds in reliance on representations and statements made by

Defendants Lafrenz and VOG, including statements touting the quality of the GTV investment,

representations that they were working with Defendants Guo and GTV to enable investors to invest

in GTV, and that they would remit funds received from investors to GTV in exchange for GTV

shares (see supra, ¶¶ 70-71, 73, 77, 79-80).

       91.      As a result of the Crowdfunding Scheme, Plaintiffs transferred funds to Defendants

Lafrenz and VOG, but Defendants did not deliver the GTV securities they had promised.




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                       Defendants Obscure the Status of the VOG Funds

        92.     Plaintiffs each sent Lafrenz an email attaching wire transfer records demonstrating

the funds transfers to the bank accounts Lafrenz designated.

        93.     Although Lafrenz had promised in her Discord messages and other

communications to provide Plaintiffs with a receipt for their investment within a few days, Lafrenz

never sent any confirmation and none of the Plaintiffs received any receipt evidencing their

investment.

        94.     Instead, on June 1, 2020, Lafrenz posted an announcement that she and VOG were

responding to approximately 8,000 emails, apparently for investments in GTV, and sending

counter-signed Limited Agency Agreements back to investors. Plaintiffs, other than Jun Liu, did

not receive any response email or counter-signed agreement.

        95.     The following day, Defendant Guo announced in a video posted on the GTV

Platform that the GTV Offering had closed. During that announcement, Guo explained that GTV

had raised “more than 350 million US dollars” but that this did not include approximately $117

million that VOG collected. Guo claimed that, with VOG added in, GTV raised “nearly $500

million US dollars” and that GTV “according to my conservative estimate, it’s already worth 17.5

times [the] initial value.”

        96.     Defendant Guo provided no evidence other than his own assertions for this

valuation, nor did he explain why the funds that were pooled into VOG were being separately

maintained.

        97.     On the same day, Defendant Guo also stated that “[l]ater, we would complete

VOG’s investment with $117 million US dollars.” He did not indicate when this would happen

but made clear that the VOG funds had not been transferred to GTV.




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       98.      Defendant Guo’s June 2, 2020 statement that the money collected by Lafrenz in

VOG had not been transferred to GTV but would be invested later, however, was false and

Defendants Guo, GTV, Saraca, Lafrenz and VOG knew it to be false.

       99.      In fact, letters that Lafrenz sent to the SEC on August 7 and 14, 2020 attaching

certain bank records, which she published on Discord and elsewhere in January 2021, reveal that

at least $30 million collected by VOG had already been sent to GTV and/or Saraca by check dated

May 15, 2020. This fact is further corroborated by a May 16, 2020 WhatsApp message between

Guo and Lafrenz, which Lafrenz subsequently posted online, in which she stated that she had sent

two checks totaling $30 million to GTV and/or Saraca (see supra, ¶ 76).

       100.     Upon information and belief, the May 15, 2020 transfer included funds invested by

Plaintiffs Jiamei Lu, Jun Liu, RuQin Wang, Weixiang Ge, Shuang Wang, Xingyu Yan, and Yi Li.

       101.     Defendant Guo’s June 2, 2020 statement also contradicted earlier representations

concerning the Crowdfunding Scheme made by himself and Lafrenz.

             a. For example, prior to Plaintiffs’ investment, Defendants omitted the material fact

                and failed to disclose to Plaintiffs that their investment through VOG would be held

                in VOG and not remitted to GTV in exchange for GTV securities.

             b. Defendant Guo represented in his April 20, May 10, and May 21, 2020 videos, that

                the investments in GTV that he was promoting would close by the end of May

                2020, including investments in GTV through VOG, and that investors would

                receive their securities thereafter.

             c. Defendant Lafrenz represented in statements on Discord and the GTV Platform,

                including on April 16, May 10, and May 12, 2020, as well as in the Limited Agency




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                 Agreements provided to Plaintiffs, that the investment closed by May 25, 2020 and

                 Plaintiffs’ funds would be used to purchase GTV securities.

        102.     Plaintiffs viewed Guo’s June 2, 2020 videos and, in reliance on his representations

that their funds were still held by VOG but would be invested in GTV, refrained from taking any

steps to obtain refunds and/or the return of their investments.

        103.     On June 7, 2020, however, Plaintiff Jiamei Lu became concerned that the GTV

Offering together with the Crowdfunding Scheme was an investment scam. She messaged Lafrenz

and asked for a refund, but Lafrenz refused.

        104.     Instead, Lafrenz offered a number of excuses, including that the investment in GTV

would happen soon, that various banks had frozen the accounts, and that the issues would be

resolved soon.

        105.     On June 9, 2020, Defendant Guo posted another video on the GTV Platform in

which he addressed the funds held in VOG. He claimed that VOG funds would be used to purchase

shares that had been owned by Defendant Saraca.

        106.     This statement again created the false impression that no funds from VOG had been

transferred to GTV, a misrepresentation compounded by the fact that as of June 9, 2020, Plaintiffs

had not received a receipt for their transfers to VOG and Lafrenz, nor had they received any GTV

securities.

        107.     The June 9, 2020 statement was also false in that Lafrenz and VOG had already

transferred approximately $30 million to GTV and Saraca on May 15, 2020, as evidenced by

Lafrenz’s letters to the SEC and WhatsApp messages to Guo (see supra, ¶¶ 76, 99), and Plaintiffs

had not received any GTV securities in return.




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       108.    In reliance on Guo’s June 9, 2020 statements, Plaintiffs (other than Jiamei Lu)

believed that their funds would be invested and that they would receive GTV securities and, as

such, took no steps to seek a refund and return of their funds.

       109.    On June 10, 2020, Lafrenz posted an announcement on Discord acknowledging that

VOG received approximately $117 million. She promised that “you don’t have to worry about it,

the money won’t fly away.”

       110.    Lafrenz failed to disclose, however, that at least $30 million had already been sent

to Defendants GTV and Saraca.

       111.    Defendant Lafrenz also refused to interact with Plaintiffs. Several Plaintiffs sent

her messages on Discord, WhatsApp, or by email asking for the status of their investment and a

copy of the promised receipt. Lafrenz did not respond.

       112.    On June 20, 2020, Defendant Guo announced in a video on the GTV Platform that

GTV had not received any of the funds Plaintiffs (and others) had transferred to VOG. For the

first time, and in contradiction to his statements on May 10 and 12 (see supra, ¶¶ 72, 78), he

claimed that Lafrenz and VOG had “nothing to do with” himself or GTV, but promised that if

VOG sent the money to GTV, VOG would receive GTV securities.

       113.    The statement that GTV had received no funds from VOG was false (see supra, ¶

99).

       114.    On June 25, 2020, Defendant Lafrenz sent a message to Plaintiff Jiamei Lu and

promised to issue a refund by July 1, but Jiamei Lu never received any refund. Thereafter, both

Lafrenz and Guo blocked Jiamei Lu on WhatsApp.

       115.    On June 26, 2020, Lafrenz was interviewed by Lude media, a platform controlled

by Saraca; the video of the interview was subsequently posted on Twitter. In the interview, Lafrenz




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admitted that she and VOG had Plaintiffs’ funds (among others). According to a transcript of that

video, Lafrenz claimed that Wells Fargo had frozen VOG’s bank accounts, including $43 million

of funds sent for investments in GTV. She later stated that VOG had “$117 [million] from

thousands of investors.”

       116.       In the video, Lafrenz maintained the legitimacy of the Crowdfunding Scheme and

the GTV Offering, asserting that Wells Fargo had frozen the accounts holding investors’ money

but that she was negotiating an agreement to have the funds released. She stated that the “[n]ext

step is to send the money … to where it should go, to issue the certificates of share to the share

holders [sic].”

       117.       This statement was not true because Lafrenz had already sent GTV and Saraca $30

million on May 15, 2020 (see supra, ¶ 99) and because no Plaintiffs ever received “certificates of

share” for GTV.

       118.       In response to seeing this video, several of Plaintiffs became concerned and

requested refunds from Lafrenz.

       119.       Lafrenz assured Plaintiffs that she was working with the bank to release the funds

and maintained that the investment would proceed.

       120.       On July 3, 2020, Defendant Lafrenz published an announcement stating that the

account issues with Wells Fargo had been resolved.

       121.       In reliance on this statement, Plaintiffs believed that Lafrenz and VOG would

proceed with the investment in GTV.

       122.       In fact, as Lafrenz’s letter and bank records sent to the SEC on August 7 and 14,

2020 indicate, Lafrenz sent another check for approximately $31.2 million to Saraca.




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        123.    On July 21, 2020, Lafrenz doubled down on her prior promise that the investment

in GTV and issuance of shares was forthcoming, stating in a Discord message that “we are waiting

for lawyer’s document … Our volunteer workers are working to contact every one of you, and will

send you the document as soon as we receive it.”

        124.    In fact, in that message, Lafrenz invited people to “add investment” in GTV.

        125.    This was another misleading statement, as Lafrenz omitted to disclose at the time

that the SEC had begun investigating the GTV Offering and her and VOG’s role. Lafrenz admitted

in a February 17, 2021 video posted to YouTube that she knew about the SEC’s investigation as

early as July 2021.

        126.    Over the following months, the VOG “volunteer workers” undertook to confirm

the amount of money each investor sent to VOG.

        127.    In or around August 2020, the VOG volunteer workers contacted Plaintiffs and

confirmed the amount of Plaintiffs’ wire transfers to VOG and/or Lafrenz.

        128.    As such, Defendants Lafrenz and VOG acknowledged that they were in possession

of Plaintiffs’ funds.

       The Convertible Bond Ruse, Refused Refunds, and Government Investigations

        129.    Not long after Defendants issued their August 2020 statements acknowledging the

receipt of Plaintiffs’ funds, promising that GTV shares would be issued, and stating that the

investment would proceed, Defendants once again altered the arrangement.

        130.    In late July and early August 2020, Defendant Guo began discussing “loan” projects

involving entities called “farms” (explained below), which Guo controlled, and that would allow

interested investors to enter into loan agreements that would pay back an investor’s principal




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amount plus 3% interest per annum as either cash or GTV shares (valued at $1 per share) after a

three year period (hereinafter the “Convertible Bond Project”).

       131.    According to a published report by the network analysis firm Graphika, Guo

controls an entity known as Himalaya Supervisory Authority, which oversees the Himalaya Farms

Network. The Network is comprised of local chapters known as Himalaya Farms. A “farm”

recruits supporters into local chapters to create content for GNews, GTV and other social media

accounts. In addition, farm supporters attend events and local protests to promote Guo’s agenda.

       132.    Although VOG was not itself a “farm,” Lafrenz claimed that VOG would have a

similar status as a farm and would act as a borrower in the Convertible Bond Project.

       133.    In a July 19, 2020, video posted on GTV, Guo described this as a “loan contract

between you and me. This is convertible bond.”

       134.    Guo had also begun promoting a new venture called “G-Club” which would sell

memberships to individuals and purportedly allow members to obtain shares in two other

companies, G-Club and G-Fashion, which Defendant Guo offered as a substitute investment

available to those who missed out on investing in GTV. Guo first mentioned G-Club in his June

20, 2020 video posted to the GTV Platform.

       135.    Almost immediately, Lafrenz began touting the Convertible Bond Project and G-

Club in messages on Discord, which she sent, upon information and belief, to the same group of

people from whom she solicited investments in GTV, including Plaintiffs.

       136.    Lafrenz also sent documents to those people, including Plaintiffs, purporting to

authorize the conversion of their GTV investments into a loan agreement that, in turn, could

eventually be converted into GTV securities.




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       137.    On August 3, 2020, Defendant Lafrenz posted a message on Discord advising

anyone that was interested in participating in the Convertible Bond Project to send a message and

she would coordinate the documentation.

       138.    At or about the same time, Defendants Guo, Lafrenz, and VOG took steps to move

investors’ funds, including, upon information and belief, Plaintiffs’ funds, out of the United States

to bank accounts in foreign jurisdictions.

       139.    According to bank records and a WhatsApp message from Defendant Guo that

Defendant Lafrenz posted online on or around December 26, 2020, on August 28, 2020, at Guo’s

instruction, Lafrenz wired $6,000,000 from an account Lafrenz controlled to an account at First

Abu Dhabi Bank in the name of ACA Capital Group Limited.

       140.    On August 31, 2020, Lafrenz posted another announcement on Discord advising

that people who had sent funds to VOG for investment in GTV could use those funds to participate

in the Convertible Bond Project or could convert those funds into a G-Club membership.

       141.    Several of Plaintiffs, including Linda Cheung, Weiguo Sun, Yan Gao, Ying Liu,

RuQin Wang, Teli Chen, Weixiang Ge, and Shuang Wang, viewed Lafrenz’s announcements and

believed that the Convertible Bond Project was the only opportunity to salvage their investment in

GTV.

       142.    Lafrenz assured Plaintiffs in messages sent on WhatsApp and Discord that by

agreeing to participate in the Convertible Bond Project, it was “certain” they could convert the

loans into GTV shares.

       143.    Plaintiffs Linda Cheung, Weiguo Sun, Mao-Fun Weng, RuQin Wang, Teli Chen,

Wixiang Ge, Shuang Wang, and Ying Liu received and signed purported “loan agreements” that




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identified VOG as the borrower. Plaintiff Yan Gao received and signed a purported “loan

agreement” that identified “Maywind Trading” as the borrower.

        144.   As a result, some of the funds Plaintiffs had previously sent to VOG to purchase

GTV securities were made part of the Convertible Bond Project.

        145.   Lafrenz also advised investors, including certain Plaintiffs, in early September

2020, that additional funds could be invested and that starting September 7, 2020, she would accept

such funds for “Phoenix Farm,” a Himalaya Farm authorized by Defendant Guo to collect funds

as part of the Convertible Bond Project. Some of Plaintiffs invested additional funds with Phoenix

Farm.

        146.   Although Plaintiffs Linda Cheung, Weiguo Sun, Mao-Fun Weng, RuQin Wang,

Teli Chen, Wixiang Ge, Shuang Wang, Yan Gao and Ying Liu sent signed copies of the loan

agreements back to Lafrenz, neither she nor VOG, nor any other entity, ever returned a counter-

signed agreement.

        147.   At or around this same time, all the Plaintiffs continued to push Lafrenz to issue

refunds of their investments.

        148.   Lafrenz provided “refund” forms, which were posted on Discord, that required

Plaintiffs to list detailed personally identifiable information.

        149.   Plaintiffs returned these forms, sometimes several times, to Lafrenz, but she issued

no refunds.

        150.   As a result of the Convertible Bond Project, as well as Lafrenz’s repeated promise

to issue refunds, Plaintiffs continued to believe that their funds were going to be either invested

into GTV or returned to them.




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          151.   On December 16, 2020, Lafrenz announced on Discord that Phoenix Farm was

dissolving.

          152.   A few days later, on December 26, 2020, Lafrenz announced on Discord that loans

made to Phoenix Farm totaled nearly $90 million which, upon information and belief, included

some of Plaintiffs’ money, including additional investments.

          153.   During the same announcement, Lafrenz stated that those funds were transferred to

accounts identified by Guo, including the August 28, 2020 transfer from an account that Lafrenz

controlled to the ACA Capital Group Limited account at First Abu Dhabi Bank.

          154.   Lafrenz’s statement, however, contradicted her prior statement that she would not

begin collecting funds for Phoenix Farm until September 7, 2020 and, upon information and belief,

that transfer in fact contained Plaintiffs’ money.

          155.   Upon information and belief, as a result of Lafrenz’s statements, investor

complaints and refund requests, and the ongoing SEC investigation into the GTV Offering,

Defendants Guo and Lafrenz’s relationship deteriorated.

          156.   On January 26, 2021, Lafrenz posted a message on Discord claiming that “all of

the funds received by VOG are accounted for,” that only “one payment [was] sent to GTV and two

payments [were] sent to Saraca.” She went on to claim that VOG, Saraca, and GTV would issue

refunds as soon as they were permitted to do so by the SEC, which was then investigating the GTV

Offering and Defendant Guo.

          157.   Lafrenz’s statement on January 26, 2021 that all funds received by VOG were

accounted for and only three payments were sent to GTV and Saraca, contradicts Lafrenz and

Guo’s earlier statements on June 20 and 26, 2020, that VOG funds had not been sent to GTV or

Saraca.




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       158.    Defendant Guo, on January 28, 2021, issued a video statement in which he denied

receipt of any funds from Lafrenz, VOG, or Phoenix Farm and denied that he had any affiliation

with Lafrenz or Phoenix Farm.

       159.    In a February 17, 2021 video posted to YouTube, Lafrenz admitted that she was

aware of problems with the GTV Offering as early as “July [2020]” because “SEC started to

investigate GTV private placement.”      The following day, Lafrenz posted another video to

YouTube in which she admitted she received an SEC subpoena “very early, it is in July.”

       160.    Despite knowing that the SEC was investigating the GTV Offering, Lafrenz issued

numerous public statements encouraging investors, including Plaintiffs, to leave their funds in

VOG, promising that they would receive GTV securities, and promising that their funds were safe

(see supra, ¶¶ 120, 123-124).

       161.    Lafrenz also published online two letters that she had sent to the SEC on behalf of

VOG on August 7 and 14, 2020. Those letters reveal the falsity of Guo’s and Lafrenz’s

representations in June and July 2020, that money collected by VOG had not been sent to GTV.

       162.    Specifically, in an August 14, 2020 letter to the SEC, Lafrenz and VOG revealed

that $15 million of investor money was sent to GTV on May 15, 2020, $15 million of investor

money was sent to Saraca on May 15, 2020, and an additional $31.2 million of investor money

was sent to Saraca on July 7, 2020.

       163.    Finally, in several audio messages posted on Discord in early February 2021,

Lafrenz instructed several Plaintiffs to send recall requests to Wells Fargo bank to recover funds

from one of the accounts under her control to which they had sent money. About a week after

posting these messages, Lafrenz posted a copy of a bank statement without any date information,




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purportedly indicating that Wells Fargo bank recently returned approximately $700,000 to

investors and thereafter closed the account.

       164.    This representation proved to be another false and misleading statement by Lafrenz

regarding the return of investors’ funds.

       165.    Plaintiffs contacted Wells Fargo to obtain refunds as Lafrenz suggested but were

informed that the account had been closed in or around July 2020.

       166.    A copy of the bank statement that Lafrenz showed Plaintiffs in February 2021 was

subsequently posted on the GTV website. That copy included dates for each transaction, all of

which were dated in July 2020.

       167.    Plaintiffs have continued to request refunds from Lafrenz and VOG. To date,

Lafrenz and VOG have not refunded any money to Plaintiffs.

       168.    Despite VOG having transferred to Defendants GTV and Saraca nearly $61.2

million of investor funds which, upon information and belief, include Plaintiffs’ funds, Defendants

have failed to deliver the promised GTV securities to Plaintiffs.

              The GTV Offering Did Not Comply With Federal Securities Laws

       169.    The GTV Offering was described as a private placement.

       170.    Typically, private placement issuers file Form D with the SEC and claim that their

offering is exempt from registration because it complies with the safe harbor restrictions in 17

C.F.R. § 230.506 (“Rule 506”).

       171.    The GTV Offering, upon information and belief, did not comply with Rule 506’s

safe harbor and Defendants knowingly offered and sold, or were willfully blind to the fact that

they offered and sold, the GTV securities that were neither registered with the SEC or exempt from

registration in violation of Section 5 of the Securities Act.




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       172.    Defendants knowingly offered and sold, or were willfully blind to the fact that they

offered and sold, the securities in the GTV Offering through a general solicitation and,

furthermore, used general advertising to solicit investors and conduct the sale. The Rule 506(b)

safe harbor, which prohibits general solicitations, therefore, did not apply.

       173.    Defendants took no steps to ensure that sales were limited to accredited investors.

In fact, Defendants said nothing to Plaintiffs regarding whether they needed to be accredited

investors to participate in the GTV Offering, requested no information from Plaintiffs regarding

their financial status, and took no steps to ascertain whether Plaintiffs were accredited investors.

Therefore, the Rule 506(c) safe harbor, which requires the issuer to take “reasonable steps to

verify” the accredited investor status, did not apply.

                                              COUNT I

                Violation of Section 5 and 12(a)(1) of the Securities Act of 1933
                             (All Plaintiffs Against All Defendants)

       174.    Plaintiffs hereby incorporate by reference the allegations contained in paragraphs

1-173 of this Complaint as if fully set forth herein.

       175.    Section 2(a)(1) of the Securities Act, 15 U.S.C. § 77b(a)(1), defines the term

“security” as including any “stock” or “evidence of indebtedness” or “investment contract.”

       176.    The interests in GTV marketed by Defendants are securities within the meaning of

Section 2(a)(1) of the Securities Act, 15 U.S.C. § 77b(a)(1).

       177.    Section 5(a) of the Securities Act, 15 U.S.C. § 77e(a), provides:

               Unless a registration statement is in effect as to a security, it shall be
               unlawful for any person, directly or indirectly –

               (1)     to make use of any means or instruments of transportation or
               communication in interstate commerce or of the mails to sell such
               security through the use or medium of any prospectus or otherwise;
               or




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               (2)     to carry or cause to be carried through the mails or in
               interstate commerce, by any means or instruments of transportation,
               any such security for the purpose of sale or for delivery after sale.

        178.   Section 5(c) of the Securities Act, 15 U.S.C. § 77e(c), provides:

               It shall be unlawful for any person, directly or indirectly, to make
               use of any means or instruments of transportation or communication
               in interstate commerce or of the mails to offer to sell or offer to buy
               through the use of medium of any prospectus or otherwise any
               security, unless a registration statement has been filed as to such
               security, or while the registration statement is the subject of a refusal
               order or stop order or (prior to the effective date of the registration
               statement) any public proceeding or examination under section 8.

        179.   No registration statement was filed or in effect under the Securities Act regarding

the GTV securities offered to Plaintiffs by Defendants, and no exemption from registration existed

regarding those securities.

        180.   When Defendants solicited Plaintiffs to invest in GTV, and provided investment

information and documents to make an investment in GTV to Plaintiffs, Defendants directly and

indirectly:

               (a)     made use of means or instruments of transportation or
               communication in interstate commerce or of the mails to sell
               securities, through the use or medium of a prospectus or otherwise;

               (b)    carried or caused to be carried securities through the mails
               or in interstate commerce, by any means or instruments of
               transportation, for the purpose of sale or for delivery after sale;
               and/or

               (c)     made use of means or instruments of transportation or
               communication in interstate commerce or of the mails to offer to sell
               or offer to buy securities, through the use or medium of a prospectus
               or otherwise,

without a registration statement having been filed or being in effect as to such securities.

        181.   By reason of the foregoing, Defendants violated Sections 5(a) and 5(c) of the

Securities Act, 15 U.S.C. § 77e(a), (c).




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       182.      Section 12(a)(1) of the Securities Act, 15 U.S.C. § 77l(a)(1), provides:

                 Any person who –

                 (1)    offers or sells a security in violation of section 5 of this title,
                 …

                 shall be liable, subject to subsection (b), to the person purchasing
                 such security from him, who may sue either at law or in equity in
                 any court of competent jurisdiction, to recover the consideration
                 paid for such security with interest thereon, less the amount of any
                 income received thereon, upon the tender of such security, or for
                 damages if he no longer owns the security.

                                              COUNT II

                   Violation of Sections 5 and 15 of the Securities Act of 1933
                             (All Plaintiffs Against Defendant Guo)

       183.      Plaintiffs hereby incorporate by reference the allegations contained in paragraphs

1-173 of this Complaint as if fully set forth herein.

       184.      Section 15(a) of the Securities Act, 15 U.S.C. § 77o, provides:

                 (a) Controlling persons –

                 Every person who, by or through stock ownership, agency, or
                 otherwise, or who, pursuant to or in connection with an agreement
                 or understanding with one or more other persons by or through stock
                 ownership, agency, or otherwise, controls any person liable under
                 section 11 or 12, shall also be liable jointly and severally with and
                 to the same extent as such controlled person to any person to whom
                 such controlled person is liable, unless the controlling person had no
                 knowledge of or reasonable ground to believe in the existence of the
                 facts by reason of which the liability of the controlled person is
                 alleged to exist

       185.      Defendant Guo controlled Defendants Saraca and GTV within the meaning of

Section 15(a).

       186.      Defendant Guo is jointly and severally liable with and to the same extent as

Defendants GTV and Saraca for their violations of Sections 5(a) and 5(c) of the Securities Act.




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                                             COUNT III

                           Securities Fraud in Violation of Section 10(b)
                of the Securities Exchange Act of 1934 and Rule 10b-5 Thereunder
                               (All Plaintiffs Against All Defendants)

         187.    Plaintiffs hereby incorporate by reference the allegations contained in paragraphs

1-173 of this Complaint as if fully set forth herein.

         188.    Section 10(b) of the Securities Exchange Act of 1934, 15 U.S.C. § 78j(b), provides:

                 It shall be unlawful for any person, directly or indirectly, by the use
                 of any means or instrumentality of interstate commerce or of the
                 mails …,

                 (b)     to use or employ, in connection with the purchase or sale of
                 any security registered on a national securities exchange or any
                 security not so registered … any manipulative or deceptive device
                 or contrivance in contravention of such rules and regulations as the
                 [SEC] may prescribe as necessary or appropriate in the public
                 interest or for the protection of investors.

         189.    Rule 10b-5, 17 C.F.R. 2450.10b-5, provides:

                 It shall be unlawful for any person, directly or indirectly, by the use
                 of any means or instrumentality of interstate commerce, or of the
                 mails …,

                 (a)    to employ any device, scheme, or artifice to defraud,

                 (b)     to make any untrue statement of a material fact or to omit to
                 state a material fact necessary in order to make the statements made,
                 in the light of the circumstances under which they were made, no
                 misleading, or

                 (c)    to engage in any act, practice, or course of business which
                 operates or would operate as a fraud or deceit upon any person,

                 in connection with the purchase or sale of any security.

         190.    Defendants each and together made material misstatements and/or omissions about

the GTV Offering and GTV’s business in connection with the sales of GTV securities, as set forth

above.




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       191.     Defendants’ material misstatements and/or omissions were made with knowledge

of their falsity or misleading character and with an intent to deceive, manipulate, and defraud

Plaintiffs into purchasing GTV securities.

       192.     Defendants’ material misstatements and/or omissions include:

           a. False or misleading statements that investor funds transferred to VOG would be

                used to purchase GTV securities on investors’ behalf;

           b. False or misleading statements concerning the value of GTV;

           c. False or misleading statements concerning the GTV app;

           d. False or misleading statements concerning the relative risk of the GTV Offering;

           e. False or misleading statements concerning how the GTV Offering was structured,

                including when it would close;

           f. False or misleading statements concerning how Plaintiffs’ funds would be used if

                invested; and

           g. False or misleading statements concerning the relationships between or among

                Defendants Saraca and GTV, Sararca and Guo, Guo and GTV, Lafrenz and GTV,

                and VOG and GTV.

       193.     Defendants each had both motive and opportunity to commit fraud, including to

obtain financial gain, and there is strong circumstantial evidence of conscious misbehavior and/or

recklessness.

       194.     Defendants made the foregoing misstatements and/or omissions in order to induce

Plaintiffs to transfer funds in order to purchase GTV securities.

       195.     Plaintiffs reasonably relied on Defendants’ misstatements and/or omissions and did

in fact transfer funds in reliance on those misstatements and/or omissions.




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         196.   Plaintiffs suffered economic loss in the form of their entire investments in the

purchase of GTV securities as a result of Defendants’ misstatements and/or omissions.

         197.   Defendants are jointly and severally liable for damages to each Plaintiff.

                                             COUNT IV

                                         Common Law Fraud
                                (All Plaintiffs Against All Defendants)

         198.   Plaintiffs hereby incorporate by reference the allegations contained in paragraphs

1-173 of this Complaint as if fully set forth herein.

         199.   Defendants each and together made material misstatements and/or omissions about

the GTV Offering and GTV’s business in connection with the sales of GTV securities, as set forth

above.

         200.   Defendants’ material misstatements and/or omissions were made with knowledge

of their falsity or misleading character and with an intent to deceive, manipulate, and defraud

Plaintiffs into purchasing GTV securities.

         201.   Defendants’ material misstatements and/or omissions include:

            a. False or misleading statements concerning the value of GTV;

            b. False or misleading statements concerning the GTV app;

            c. False or misleading statements concerning the relative risk of the GTV Offering;

            d. False or misleading statements concerning how the GTV Offering was structured,

                including when it would close;

            e. False or misleading statements concerning how Plaintiffs’ funds would be used if

                invested; and




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           f. False or misleading statements concerning the relationships between or among

               Defendants Saraca and GTV, Sararca and Guo, Guo and GTV, Lafrenz and GTV,

               and VOG and GTV.

       202.    Plaintiffs reasonably relied on these misstatements and/or omissions and

transferred funds to Defendants Lafrenz and VOG, a portion of which Lafrenz and VOG then

transferred to Defendants GTV and Saraca at the instruction of Defendant Guo.

       203.    Had Plaintiffs known the truth, they would not have transferred funds to invest in

GTV securities.

       204.    After Plaintiffs transferred their funds, Defendants made a series of additional

material misstatements and/or omissions, which they knew to be false and/or misleading when

made, which were intended to dissuade Plaintiffs from seeking refunds or taking other action to

recoup their investments, including:

           a. Falsely stating that funds collected by VOG had not yet been paid to GTV;

           b. Failing to disclose an SEC investigation into the GTV Offering; and

           c. Failing to disclose that the GTV Offering did not comply with federal securities

               laws.

       205.    As a result of these misstatements and/or omissions, and in reliance thereon,

Plaintiffs refrained from taking any action to recover the funds transferred.

       206.    As a result of Defendants’ misstatements and/or omissions, Plaintiffs have been

injured in the loss of their entire investments in the purchase of GTV securities.




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                                               COUNT V

                                        Unjust Enrichment
                              (All Plaintiffs Against All Defendants)

          207.   Plaintiffs hereby incorporate by reference the allegations contained in paragraphs

1-173 of this Complaint as if fully set forth herein.

          208.   Plaintiffs each conferred a benefit on Defendants when they wired funds to Lafrenz

and/or VOG as “agents” designated by Guo and GTV to pool funds for investment in GTV

securities, and Lafrenz and VOG thereafter transferred a portion of Plaintiffs’ funds to GTV and

Saraca.

          209.   Plaintiffs transferred funds based on Defendants’ material misstatements and/or

omissions, as well as the promise to provide Plaintiffs with GTV securities.

          210.   Defendants never provided Plaintiffs with GTV securities, although Defendants

received the funds voluntarily and never returned the funds to Plaintiffs.

          211.   Defendants have retained the money transferred by Plaintiffs and have engaged in

a pattern of false, misleading and deceptive conduct designed to prevent Plaintiffs from recovering

their funds.

          212.   It would be against equity and good conscience to permit Defendants to continue

to retain that money at Plaintiffs’ expense.

                                     PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs pray for relief and judgment as follows:

          213.   That Defendants offered and sold unregistered securities in violation of the

Securities Act of 1933.

          214.   That Defendants are jointly and severally liable for rescission and/or damages,

including punitive damages, as to each Plaintiff in amounts to be proven at trial.




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       215.   The Defendants are jointly and severally liable for damages, including punitive

damages, to Plaintiff Jia Li Wang in the amount of $430,000.00, together with interest thereon as

authorized by law.

       216.   The Defendants are jointly and severally liable for damages, including punitive

damages, to Plaintiff Jiamei Lu in the amount of $40,000.00, together with interest thereon as

authorized by law.

       217.   The Defendants are jointly and severally liable for damages, including punitive

damages, to Plaintiff Jun Liu in the amount of $35,000.00, together with interest thereon as

authorized by law.

       218.   The Defendants are jointly and severally liable for damages, including punitive

damages, to Plaintiff Linda Cheung in the amount of $50,030.00, together with interest thereon as

authorized by law.

       219.   The Defendants are jointly and severally liable for damages, including punitive

damages, to Plaintiff Mao-Fu Weng in the amount of $45,000.00, together with interest thereon as

authorized by law.

       220.   The Defendants are jointly and severally liable for damages, including punitive

damages, to Plaintiff RuQin Wang in the amount of $89,980.00, together with interest thereon as

authorized by law.

       221.   The Defendants are jointly and severally liable for damages, including punitive

damages, to Plaintiff Teli Chen in the amount of $125,000.00, together with interest thereon as

authorized by law.




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       222.   The Defendants are jointly and severally liable for damages, including punitive

damages, to Plaintiff Weiguo Sun in the amount of $59,200.00, together with interest thereon as

authorized by law.

       223.   The Defendants are jointly and severally liable for damages, including punitive

damages, to Plaintiff Weixiang Ge in the amount of $4,500.00, together with interest thereon as

authorized by law.

       224.   The Defendants are jointly and severally liable for damages, including punitive

damages, to Plaintiff Xingyu Yan in the amount of $100,000.00, together with interest thereon as

authorized by law.

       225.   The Defendants are jointly and severally liable for damages, including punitive

damages, to Plaintiff Yan Gao in the amount of $66,000.00, together with interest thereon as

authorized by law.

       226.   The Defendants are jointly and severally liable for damages, including punitive

damages, to Plaintiff Yi Li in the amount of $45,000.00, together with interest thereon as

authorized by law.

       227.   The Defendants are jointly and severally liable for damages, including punitive

damages, to Plaintiff Ying Liu in the amount of $20,000.00, together with interest thereon as

authorized by law.

       228.   The Defendants are jointly and severally liable for damages, including punitive

damages, to Plaintiff Shuang Wang in the amount of $25,500.00, together with interest thereon as

authorized by law.

       229.   Awarding Plaintiffs their attorneys’ fees and costs.

       230.   Any other and further relief as this Court deems just and proper.




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Dated: New York, New York             THOMPSON HINE LLP
       May 19, 2021


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